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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

HERITAGE HOME GROUP, LLC, et al.,1                          Case No. 18-11736 (BLS)

                           Debtors.                          (Jointly Administered)
                                                            Ref. Docket No. 945
HERITAGE HOME GROUP, LLC,

                            Plaintiff,

v.

Angelus Furniture Outlet, Inc.,                             Adv. Proc. No. 18-50968 (BLS)
Cabot House Inc.,                                           Adv. Proc. No. 19-50000 (BLS)
Campbell & Co. Inc.,                                        Adv. Proc. No. 19-50001 (BLS)
Plum Management LLC,                                        Adv. Proc. No. 19-50002 (BLS)
Quality Furniture, LLC,                                     Adv. Proc. No. 19-50003 (BLS)
Samalco LLC,                                                Adv. Proc. No. 19-50004 (BLS)
The Annex LLC d/b/a Thomasville Drexel,                     Adv. Proc. No. 19-50005 (BLS)
TOW of Wisconsin, Inc.,                                     Adv. Proc. No. 19-50006 (BLS)

                         Defendants.


                            ORDER GRANTING
      MOTION OF ALFRED T. GIULIANO, CHAPTER 7 TRUSTEE, TO APPROVE
                  SETTLEMENT AGREEMENT REGARDING
                 FRANCHISEE ADVERSARY PROCEEDINGS

                  Upon consideration of the Motion of Alfred T. Giuliano, Chapter 7 Trustee, to

Approve Settlement Agreement Regarding Franchisee Adversary Proceedings (the “Motion”) of

Alfred T. Giuliano, chapter 7 trustee (the “Trustee”) to the estates of the above-captioned debtors

(the “Debtors”), for entry of an order (this “Order”), pursuant to sections 105(a) and 363(b) of

the Bankruptcy Code and Bankruptcy Rule 9019, approving a settlement agreement stipulation

1
 The Debtors in these cases, along with the last four digits of each Debtor’s tax identification number, as applicable,
are: Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc. (7206); HHG Real
Property LLC (3221); and HHG Global Designs LLC (1150).
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(the “Stipulation”) is entered into by and between (a) Alfred T. Giuliano, chapter 7 trustee (the”

Trustee”) for the estates of the above-captioned debtors (the “Debtors”), (b) PNC Bank, National

Association (“PNC”) and (c) certain of the defendants in the above-captioned adversary

proceedings (the “Adversary Proceedings”)2: Cabot House Inc.; Campbell & Co. Inc.; Plum

Management LLC; Quality Furniture, LLC; Samalco LLC; The Annex LLC d/b/a Thomasville

Drexel; and TOW of Wisconsin, Inc., (collectively, the “Defendants,” and together with the

Trustee and PNC, the “Parties”);3 a copy of which Stipulation is attached to this Order as

Exhibit 1; the Court having reviewed the Motion and the Stipulation and having considered the

record with respect to the Motion; the Court having found that (a) the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012, and that this Court may enter a final order consistent with Article III of the United States

Constitution, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b), (c) notice of the

Motion was sufficient under the circumstances and in full compliance with Bankruptcy Rule

2002 and the local rules of this Court, (d) the Stipulation (i) is the product of good faith, arms’

length negotiations among the Parties, without collusion, (ii) is fair, reasonable, appropriate and

in the best interests of the Debtors’ estates and (iii) represents a sound exercise of the Trustee’s

business judgment and (e) each of the Parties to the Stipulation provided sufficient consideration

for the transactions contemplated by the Stipulation; and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; IT IS HEREBY ORDERED THAT:


2
    Angelus Furniture Outlet, Inc. filed chapter 7 recently and therefore is not a party to the Stipulation.
3
  Capitalized terms not otherwise defined herein shall have the meaning given to them in the Motion or Stipulation,
as applicable.


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                 1.          The Motion is granted as set forth herein.

                 2.          The terms of the Stipulation attached hereto as Exhibit 1 are APPROVED

in their entirety pursuant to sections 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy

Rule 9019.

                 3.          The Parties are hereby authorized to take such additional actions or

execute such additional documents as are necessary or appropriate to implement the terms of the

Stipulation.

                 4.          Notwithstanding the possible applicability of Rules 6004, 7062, or 9014 of

the Bankruptcy Rules, any other Bankruptcy Rule, this Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of effectiveness or execution of this Order.

                 5.          Each of the above captioned adversary proceedings is dismissed with

prejudice.

                 6.          Adversary Proceeding No. 18-50968-BLS captioned Heritage Home

Group, LLC v. Angelus Furniture Outlet, Inc. is dismissed without prejudice.

                 7.          The Court shall retain exclusive jurisdiction over any and all matters

arising from or related to the implementation, interpretation, or enforcement of the Stipulation or

this Order.




Dated: May 4th, 2021                              BRENDAN L. SHANNON
Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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                                       EXHIBIT 1

                                       Stipulation




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